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10
                          UNITED STATES DISTRICT COURT
11
                        CENTRAL DISTRICT OF CALIFORNIA
12
13
14   BREONNAH FITZPATRICK,                          CASE NO. 21-CV-06841-JGB-SP
     CHRISTOPHER OFFICER, and TIMOTHY
15   McCARTHY, individuals and as class
     representatives,                               DEFENDANTS’ MOTION TO
16
                                                    DISMISS PLAINTIFFS’ SECOND
17                       Plaintiff,                 AMENDED COMPLAINT
           vs.
18
                                                    [Filed concurrently with Notice of
19   CITY OF LOS ANGELES, a municipal               Motion; Request for Judicial
     corporation; CITY OF LOS ANGELES               Notice; and [Proposed] Order]
20   DEPARTMENT OF TRANSPORTATION, a
     public entity; LOS ANGELES POLICE
21   DEPARTMENT, a public entity; GENERAL
     MANAGER SELETA REYNOLDS, an                    Hearing
22   individual; BRIAN HALE, CHIEF-                 Date: August 1, 2022
     PARKING ENFORCEMENT & TRAFFIC
23   CONTROL, individually and in their             Time: 9:00 a.m.
     official capacities; and DOES 1 through 10,    Courtroom 1
24   in their individual and official capacities,
25                      Defendants.
26
27
28     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED
                              COMPLAINT
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1       I.      INTRODUCTION
2             Three Plaintiffs challenge the impounds of their three vehicles via novel
3    theories of law that would substantially limit the ability of governments to fulfill their
4    community caretaking responsibilities via parking enforcement. Under Plaintiffs’
5    theories, a government cannot impound a vehicle without a warrant even if the vehicle
6    owner is a scofflaw, serially violating parking laws and not paying the corresponding
7    fines, or if the vehicle is unregistered with the State—even if the vehicle is not lawfully
8    parked at the time of impound. But governments need these powers to enforce parking
9    laws, which is why the well-recognized community caretaking exception to the Fourth
10   Amendment’s warrant requirement precludes liability here.
11           Additionally, Plaintiffs claim their due process rights were violated because their
12   indigency was not considered when the State refused to renew their vehicles’
13   registration, even though there is no such due process right and the State and
14   Defendants do consider indigency in such circumstances. Regardless, Plaintiffs are not
15   suing the proper party, as the law prohibiting the renewal of vehicle registration due to
16   unpaid parking citations is a State law and vehicle registration is administered by a
17   State agency. Defendants have no control over the enforcement or implementation of
18   the Vehicle Code section that Plaintiffs challenge.
19           Plaintiffs therefore fail to state a claim for a constitutional violation, but even so,
20   there is no basis for liability against the individual defendants. Because Plaintiffs
21   theories are novel, if the allegations against the individuals are true, they are immune.
22   Further, Plaintiffs do not allege their injuries were caused by any municipal policy or
23   practice, rather than simply state law; therefore there can be no municipal liability.
24   Last, Plaintiffs’ Bane Act claim fails because they do not allege that any of their
25   constitutional rights were violated via threats, intimidation, or coercion; in fact,
26   Plaintiffs do not allege that they interacted with the individuals at all, and two Plaintiffs
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1    affirmatively allege they were not even present for the impound of their vehicles.
2              Because Plaintiffs theories are flawed and those flawed theories cannot be cured
3    by the allegation of additional facts, Plaintiffs’ Second Amended Complaint should be
4    dismissed without leave to amend.
5        II.      PLAINTIFFS’ ALLEGATIONS
6              Plaintiff Breonnah Fitzpatrick alleges that her vehicle was impounded on August
7    11, 2021 pursuant to Cal. Veh. Code § 22651(i), which permits the impound of a
8    vehicle that has accumulated five or more unpaid parking citations. Dkt. 70, ¶¶ 16-19.
9    Ms. Fitzpatrick retrieved her vehicle without payment of any charges on September 17,
10   2021. Dkt. 70, ¶ 19. Plaintiff Christopher Officer alleges that his vehicle was
11   impounded on January 21, 2022 due to his accumulation of unpaid parking tickets. 1
12   Dkt. 70, ¶ 20. Mr. Officer retrieved his vehicle without payment of any charges on
13   February 23, 2022. Dkt. 70, ¶ 23. Plaintiff Timothy McCarty alleges that his vehicle
14   was impounded on January 15, 2022 pursuant to Cal. Veh. Code § 22651(o) due to its
15   expired registration. Dkt. 70, ¶ 26. Plaintiffs allege that all three vehicles were
16   impounded pursuant to an “Unpaid Parking Tickets Vehicle Seizure Policy” that
17   “directs or causes a vehicle to be seized without a warrant in order to coerce the
18   vehicle’s registered owner to pay all amounts allegedly due the City for unpaid parking
19   tickets.” Dkt. 70, ¶ 13.
20             Based on the above, Plaintiffs allege claims against the City, LADOT, LAPD,
21   LADOT General Manager Seleta Reynolds, and LADOT Chief of Parking
22   Enforcement and Traffic Control Brian Hale for (1) violation of the Fourth
23
24   1
      In the briefing on Plaintiffs’ motion for leave to file their Second Amended
25   Complaint, Defendants provided evidence establishing that Mr. Officer’s vehicle was
     not impounded due to unpaid parking tickets, but instead because it was parked in a
26   no-parking school zone. See Dkt. 62-1. Therefore it is unclear why Mr. Officer
27   continues to allege his vehicle was impounded due to unpaid parking tickets.
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1    Amendment; (2) violation of the Fifth Amendment; (3) violation of California’s Bane
2    Act; (4) Violation of the California Constitution, Art. I, § 13, and (5) violation of the
3    Fourteenth Amendment. Dkt. 70, ¶¶ 4-6, 48-63. Plaintiffs allege all claims against all
4    Defendants.
5       III.   LEGAL STANDARD
6          In reviewing a Motion to Dismiss, a court accepts as true all well-pleaded
7    allegations of material fact, construing them in the light most favorable to the non-
8    moving party. Hyde v. City of Willcox, 23 F.4th 863, 869 (9th Cir. 2022). Conclusory
9    allegations are not “well-pleaded” and therefore not entitled to an assumption of truth.
10   Ashcroft v. Iqbal, 556 U.S. 662, 681 (2009). In order to state a claim for which relief
11   may be granted, a complaint must allege facts that plausibly establish liability;
12   allegations of facts “merely consistent” with liability are insufficient. Id. at 678. The
13   rationale behind this standard is to avoid the situation where “a plaintiff with a largely
14   groundless claim be allowed to take up the time of a number of other people, with the
15   right to do so representing an in terrorem increment of the settlement value.” Bell Atl.
16   Corp. v. Twombly, 550 U.S. 544, 557-58 (2007) (internal quotation marks omitted).
17      IV.    ARGUMENT
18             A. Plaintiffs Fail To Allege A Fourth Amendment Violation
19                    i. Community Caretaking
20         The Community Caretaking Doctrine is a recognized exception to the warrant
21   requirement under the Fourth Amendment. Under that doctrine, a person’s vehicle
22   may be impounded without a warrant if the vehicle jeopardizes public safety and the
23   efficient movement of vehicular traffic, such as when the vehicle cannot be moved
24   “from a public location without continuing its illegal operation.” Miranda v. City of
25   Cornelius, 429 F.3d 858, 864-65 (9th Cir. 2005). As the Supreme Court explained,
26   police “frequently remove and impound automobiles which violate parking ordinances
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1    and which thereby jeopardize both the public safety and the efficient movement of
2    vehicular traffic. The authority of police to seize and remove from the streets vehicles
3    impeding traffic or threatening public safety and convenience is beyond challenge.”
4    South Dakota v. Opperman, 428 U.S. 364, 368-69 (1976).
5                    ii. Impounding Scofflaw Vehicles Is Consistent With Community
6                        Caretaking
7          Plaintiffs Fitzpatrick and Officer fail to allege that the impounds of their vehicles
8    violated the Fourth Amendment because impounding a vehicle under Cal. Veh. Code §
9    22651(i) for accumulation of five or more unpaid parking citations is a necessary
10   element of parking enforcement and regulation, and accordingly, in furtherance of the
11   community caretaking interests of public safety and the efficient movement of
12   vehicular traffic. The State empowers municipalities to enact laws to further public
13   safety and the efficient movement of traffic, and the State empowers municipalities to
14   enforce those laws via fines and impound authority. Cal. Veh. Code §§ 21100, 22651.
15   Without these enforcement mechanisms afforded by the State, scofflaws are not
16   deterred from parking illegally and a municipality’s ability to perform its duty of
17   furthering public safety and the efficient movement of traffic is substantially
18   diminished.
19         Demonstrating this point, the City restricts parking within 15 feet of a driveway
20   used by an emergency vehicle, in anti-gridlock zones during high traffic times, in front
21   of a school, or in other areas the City designates as a red, no stopping zone. Request
22   for Judicial Notice (“RJN”), Exhs. A-D (L.A. Muni. Code §§ 80.55, 80.55.1, 80.56,
23   80.70). Violators of these ordinances create public safety hazards and impede the
24   efficient movement of traffic, and they are subject to fines. But if those violators
25   disregard those fines, continuing to park in such restricted places, and their vehicles
26   cannot be impounded, as Plaintiffs suggest, then these ordinances are ineffective and
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1    the City cannot accomplish its community caretaking responsibilities. In re Thomas,
2    355 B.R. 166, 174 (N.D. Cal. 2006) (“Parking laws promote the safe and efficient flow
3    of traffic through the City, and thus protect the health and safety of City residents.”).
4          Aligned with this reasoning, courts have found that “[p]arking enforcement falls
5    squarely within the scope of the community caretaking function. See Opperman, 428
6    U.S. at 369; Miranda, 429 F.3d at 864 & 866 n.6; Goichman, 682 F.2d at 1324.”
7    Waters v. Hollywood Tow Serv., No. CV 07-7568 CAS (AJW), 2010 U.S. Dist. LEXIS
8    93091, at *43 (C.D. Cal. July 27, 2010), adopted by 2010 U.S. Dist. LEXIS 93154
9    (C.D. Cal. Aug. 31, 2010); see Waters v. Howard Sommers Towing, Inc., No. CV 10-
10   5296 CAS (AJWx), 2011 U.S. Dist. LEXIS 158890, at *10-11 (C.D. Cal. June 30,
11   2011) (same). And more directly, other courts have found warrantless impounds of
12   vehicles for unpaid parking tickets constitutionally permissible. See, e.g., Tate v.
13   District of Columbia, 627 F.3d 904, 912 (D.C. Cir. 2010) (rejecting Fourth
14   Amendment challenge to warrantless seizure of vehicle that was booted, towed and
15   sold at auction for having two or more unpaid tickets); Berger v. Philadelphia Parking
16   Authority, 413 3 F.Supp.3d 412, 414, 417-419 (E.D. Penn. 2019) (dismissing Fourth
17   Amendment claim against parking authority for towing car for failing to pay four
18   parking tickets, rejecting argument that warrant was required to tow “lawfully parked”
19   car); Oberhausen v. Louisville-Jefferson County Metro Government, 527 F.Supp.2d
20   713, 727-728 (W.D. Ky. 2007) (rejecting argument that defendants were required to
21   obtain warrant prior to immobilization and impoundment of vehicles for three or more
22   unpaid parking citations); Rackley v. City of New York, 186 F.Supp.2d 466, 470
23   (S.D.N.Y. 2002); see also Schneider v. County of San Diego 28 F.3d 89, 90-92 (9th
24   Cir. 1994) (no warrant was necessary for county to remove vehicles that were parked
25   on private property in violation of county zoning ordinances in order to abate a public
26   nuisance); U.S. v. Marshall, 986 F.2d 1171, 1174 (8th Cir. 1993) (“no dispute” that
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1    vehicle was properly impounded under department policy requiring the impoundment
2    of vehicles that have ten unpaid parking tickets).
3          Therefore, because impounding scofflaw vehicles is a necessary function of
4    enforcing parking ordinances that further interests of public safety and the efficient
5    movement of vehicles, Plaintiffs Fitzpatrick and Officer fail to allege that their Fourth
6    Amendment rights were violated.
7                   iii. Impounding Unregistered Vehicles Is Consistent With
8                        Community Caretaking
9          Plaintiffs McCarty and Fitzpatrick also fail to state a claim for violation of their
10   Fourth Amendment rights because both of their vehicles had expired registration at the
11   time of impound; therefore, their vehicles were illegally parked on the public right of
12   way at the time of impound and the impounds were consistent with community
13   caretaking. See Reitz v. Mealey, 314 U.S. 33, 36 (1941) (“The use of the public
14   highways by motor vehicles, with its consequent dangers, renders the reasonableness
15   and necessity of regulation apparent. The universal practice is to register ownership of
16   automobiles and to license their drivers.”); Laine v. City of Livermore, No. 15-cv-
17   03656, 2016 U.S. Dist. LEXIS 150717, at *2 (N.D. Cal. Oct. 31, 2016) (“There’s no
18   question that the City had the right to tow and hold Laine’s car [when its registration
19   was expired].”). Mr. McCarty affirmatively alleges that his vehicle’s registration was
20   expired upon impound. Dkt. 70, pp. 7-8, ¶¶ 25-26. Ms. Fitzpatrick does not make the
21   same acknowledgment, but her previously-filed declaration concedes that the vehicle’s
22   registration was expired. Dkt. 15-2, p. 5. The Court may properly consider Ms.
23   Fitzpatrick’s prior filing as it is a concession by Ms. Fitzpatrick as to the authenticity
24   of a government record. Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1117 (9th Cir. 2018)
25   (in ruling on a motion to dismiss, courts may consider a plaintiff’s concessions and
26   matters subject to judicial notice).
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1          Under California law, a vehicle with an expired registration cannot be parked or
2    driven on a public street. Cal. Veh. Code § 4000. Therefore, not only was impounding
3    the vehicles constitutionally permissible because they were illegally parked, but also
4    because they could not be legally driven anywhere. Cotton v. Cnty. of San Bernardino,
5    Case No. 18-2343-VAP (AGR), 2020 U.S. Dist. LEXIS 185269, at *37 (C.D. Cal.
6    Sept. 1, 2020) (“Because neither Plaintiff nor anyone else could lawfully drive the
7    unregistered vehicle, impoundment was proper to prevent its ‘immediate and continued
8    unlawful operation.’”); Pina v. City of Long Beach, Case No. 2:17-cv-00549-PA
9    (SHK), 2019 U.S. Dist. LEXIS 182032, at *31-32 (C.D. Cal. June 28, 2019) (same);
10   Cholerton v. Brown, No. CV 13-8992, 2014 U.S. Dist. LEXIS 106878, at *24-26 (C.D.
11   Cal. May 16, 2014) (same). Further, as Ms. Fitzpatrick has conceded, at the time of
12   impound her vehicle was parked in a location where parking would have been
13   prohibited in two days due to street cleaning; as Ms. Fitzpatrick could not legally drive
14   the vehicle because of its expired registration, Ms. Fitzpatrick would have had to either
15   illegally operate the vehicle to park in another location, or in two days it would have
16   been illegally parked in a street cleaning zone. See Dkt. 15-2, ¶ 5. The Ninth Circuit
17   is clear that a warrantless impound is constitutionally permissible in such a situation:
18   “The violation of a traffic regulation justifies impoundment of a vehicle if the driver is
19   unable to remove the vehicle from a public location without continuing its illegal
20   operation.” Miranda, 429 F.3d at 865.
21         Ms. Fitzpatrick’s vehicle’s registration had not yet been expired for six months
22   at the time of impound, so state law did not provide for its impound for that reason, see
23   Cal. Veh. Code § 22651(o). But her claim at issue is for violation of the Fourth
24   Amendment, not state law. As the California and United States Supreme Courts have
25   explained, compliance with California law and the United States Constitution are
26   distinct inquiries. Virginia v. Moore, 553 U.S. 164, 172 (2008) (“We thought it
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1    obvious that the Fourth Amendment’s meaning did not change with local law
2    enforcement practices—even practices set by rule.”); see also People v. McKay, 27
3    Cal. 4th 601, 605 (2002) (“[C]ompliance with state arrest procedures is not a
4    component of the federal constitutional inquiry.”) And under Miranda, because Ms.
5    Fitzpatrick’s vehicle was not legally parked and could not legally be moved,
6    impounding the vehicle was constitutionally permissible.
7          Regardless, even if this Court maintains its prior conclusion that impounding a
8    vehicle solely due to an accumulation of five or more unpaid parking citations is not
9    consistent with community caretaking, but instead some additional community
10   caretaking element is necessary, see Dkt. 48, pp. 4-7, the impound of Ms. Fitzpatrick’s
11   vehicle was consistent with both California law and the Fourth Amendment. As Ms.
12   Fitzpatrick’s vehicle accumulated five or more unpaid parking citations, the impound
13   was permissible under Cal. Veh. Code § 22651(i), and because the vehicle’s
14   registration was expired, the impound was permissible under the Fourth Amendment.
15                  iv. Plaintiffs’ Conclusory Allegations Should Be Disregarded
16         Ostensibly in an attempt to avoid dismissal of their claims due to the application
17   of the community caretaking doctrine, Plaintiffs allege that their vehicles were
18   respectively parked in a safe manner not negatively impacting traffic at the time of
19   impound. Dkt. 70, ¶¶ 16-17, 20-21, 24, 26. These conclusory allegations should be
20   disregarded. Ashcroft, 556 U.S. at 678-79 (2009); Bennett v. Poipu Resort, L.P., No.
21   18-00171 ACK-KJM, 2021 U.S. Dist. LEXIS 169318, at *21 (D. Haw. Sept. 7, 2021)
22   (statements that something could be done “safely” are conclusory); Mansour v. British
23   Airways PLC, No. 2:18-cv-01757-BJR, 2020 U.S. Dist. LEXIS 65431, at *8-9 (W.D.
24   Wash. Apr. 13, 2020) (same). As the Supreme Court and Ninth Circuit have
25   explained, this rejection of conclusory allegations “represents a balance between Rule
26   8’s roots in relatively liberal notice pleading and the need to prevent ‘a plaintiff with a
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1    largely groundless claim’ from ‘tak[ing] up the time of a number of other people, with
2    the right to do so representing an in terrorem increment of settlement value.’” Eclectic
3    Props. East, LLC v. Marcus & Millichap Co., 751 F.3d 990, 995 (9th Cir. 2014)
4    (quoting Twombly, 550 U.S. at 557-58).
5          Plaintiffs do not allege non-conclusory allegations regarding where their
6    vehicles were parked at the time of impound, such as the approximate address where
7    the vehicle was parked or at least which side of the street the vehicle was parked on or
8    what approximate time the vehicle was impounded (despite Plaintiffs having access to
9    all this information, see Dkt. 51-1, 54-1). This is significant because, regarding the
10   impound of Mr. Officer’s vehicle, for example, based on where and when his vehicle
11   was at the time of impound, it could be determined via judicial notice that his vehicle
12   was parked in a school zone at the time of impound.
13         Tellingly, Plaintiffs no longer allege that any of the vehicles were lawfully
14   parked at the time of impound. See Dkt. 37, ¶ 16 (First Amended Complaint).
15   Plaintiffs’ withdrawal of this allegation therefore serves as a concession that the
16   vehicles were not lawfully parked at the time of impound. See Wilkerson v. Hester,
17   114 F.Supp.2d 446, 452 (W.D. N.C. 2000) (“[T]he withdrawal of the allegation . . . is
18   tantamount to an admission that the same did not occur.”).
19             B. Plaintiffs Fail To Allege A Fifth Amendment Violation
20         Plaintiffs allege that the impounds of their vehicles constituted an
21   unconstitutional taking without just compensation in violation of the Fifth
22   Amendment. Dkt. 70, p. 14. As the vehicles were properly impounded under the
23   City’s police powers, i.e., its community caretaking function, the impounds cannot
24   constitute an unconstitutional taking. “It is well-established the Takings Clause does
25   not prohibit takings made lawfully and pursuant to a power other than the power of
26   eminent domain.” Brewster v. City of L.A., No. EDCV 14-2257, 2020 U.S. Dist.
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1    LEXIS 188688, at *24 (C.D. Cal. July 14, 2020); Am. Sav. & Loan Ass’n v. Marin
2    Cnty., 653 F.2d 364, 368 (9th Cir. 1981) (“If the regulation is a valid exercise of the
3    police power, it is not a taking if a reasonable use of the property remains.”).
4          Further, even if Plaintiffs allege that the impound of theirs vehicle was an
5    illegitimate exercise of police power, their takings claim still fails. As one court
6    explained, for there to be a “taking,” the impound must have been for the public use;
7    but “[t]he unlawful seizure of property does not constitute a ‘public use.’” Mateos-
8    Sandoval v. Cnty. of Sonoma, 942 F.Supp.2d 890, 911-12 (N.D. Cal. 2013). As
9    another court in this district concluded in a case challenging the impound of a vehicle,
10   “[b]ecause, in either event, Defendants’ exercise of authority was under some power
11   other than eminent domain, takings liability has not been triggered.” Talmadge Adib
12   Talib v. Nicholas, No. CV 14-5871-JAK (DFM), 2015 U.S. Dist. LEXIS 173617, at
13   *36-37 (C.D. Cal. Dec. 4, 2015), adopted by 2016 U.S. Dist. LEXIS 247 (C.D. Cal.
14   Jan. 4, 2016).
15         Following this last point, there is a contradiction in Plaintiffs’ Fourth and Fifth
16   Amendment theories of liability. In support of their Fifth Amendment claim, Plaintiffs
17   necessarily allege that the impounds were to accomplish a public purpose. Dkt. 70, p.
18   14. Plaintiffs characterize the purpose as “coercing vehicle owners to pay the City
19   sums allegedly due the City for unpaid parking tickets.” Id. But this alleged
20   motivation is at best a means of accomplishing a public purpose; collecting parking
21   ticket payments is not inherently a public purpose. Rather, the public purpose behind
22   these impounds is parking enforcement, which, as discussed above, is a community
23   caretaking function. Therefore, Plaintiffs’ Fifth Amendment theory of liability
24   necessarily subsumes into it a community caretaking justification, which precludes
25   Plaintiffs from stating a violation of either the Fourth or Fifth Amendment.
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1                 C. Plaintiffs Fail To Allege A Fourteenth Amendment Violation
2           Plaintiffs’ new claim for violation of the Fourteenth Amendment alleges their
3    due process rights were violated because Plaintiffs are unable to renew their vehicle
4    registration with California’s Department of Motor Vehicles due to their unpaid
5    parking citations. Dkt. 70, p. 16. Plaintiffs fail to state a claim because (1) they do not
6    allege Article III standing and (2) there is no due process right to consider indigency
7    when determining eligibility for vehicle registration.
8                       i. Standing
9           Plaintiffs fail to allege Article III standing for this claim because (1) none allege
10   they attempted to renew their registration and were refused, (2) their vehicles have
11   been released, and (3) it is the State that issues vehicle registration and it is State law
12   that restricts the issuance of vehicle registration when a driver has unpaid parking
13   citations.
14          In order to bring a claim in federal court, a plaintiff must establish standing to
15   bring such a claim. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). To do
16   so, a plaintiff must demonstrate (1) she has suffered an injury in fact; (2) a causal
17   connection between the injury and conduct complained of; and (3) a likelihood that the
18   injury will be redressed by a favorable decision. Id. at 560-61. A party does not have
19   standing if she raises only a “generalized grievance.” Gill v. Whitford, 138 S.Ct. 1916,
20   1933 (2018).
21          Plaintiffs fail to allege they suffered an injury in fact because none allege that
22   they attempted to renew their vehicle registration and were denied. See Kirola v. City
23   and Cnty. of S.F., 860 F.3d 1164, 1175 (9th Cir. 2017) (plaintiff alleged injury in fact
24   because she “encountered at least one barrier that interfered with her access to the
25   particular public facility”). Without such an allegation, Plaintiffs are merely alleging a
26   “deprivation of a procedural right without some concrete interest that is affected by the
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1    deprivation,” which is “insufficient to create Article III standing.” Summers v. Earth
2    Island Inst., 555 U.S. 488, 496 (2009). Plaintiffs also do not allege whether they
3    remain unable to register their vehicles due to this alleged violation of their due
4    process rights.
5          Plaintiffs also have not alleged the requisite elements of causal connection or
6    redressability because they challenge an action by California’s Department of Motor
7    Vehicles (“DMV”), a State agency, made pursuant to State law; none of the named
8    Defendants can order the DMV to stop enforcing California law. The DMV is
9    responsible for the renewal of vehicle registration in California. Cal. Veh. Code §
10   4601; see also Cal. Veh. Code § 505 (“A ‘registered owner’ is a person registered by
11   the department as the owner of a vehicle.”); Cal. Veh. Code § 1661 (“The department
12   shall include in any final notice of delinquent registration provided to the registered
13   owner of a vehicle whose registration has not been properly renewed as required under
14   this code, information relating to the potential removal and impoundment of that
15   vehicle under subdivision (o) of Section 22651.”). The process Plaintiffs challenge is
16   codified in State law: “[T]he department shall refuse to renew the registration of a
17   vehicle if the registered owner or lessee has been mailed a notice of delinquent parking
18   violation relating to standing or parking . . . .” Cal. Veh. Code § 4760; Tyler v. Cnty.
19   of Alameda, 34 Cal. App. 4th 777, 788 (Cal. Ct. App. 1995) (“And section 4760,
20   subdivision (a), provides that the DMV shall refuse to renew the registration until the
21   outstanding parking penalties and administrative fees are paid to the DMV.”).
22   Therefore, it is the State that is responsible for preventing the renewal of registration
23   and, if this procedure is deemed to be a violation of Plaintiffs’ due process rights, there
24   is nothing any of the named Defendants can do to stop the State from preventing the
25   renewal of registration due to unpaid parking citations. As such, Plaintiffs have no
26   standing against any of the named Defendants to assert this claim. Cal. v. Texas, 141
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1    S.Ct. 2104, 2114 (2021) (no standing because plaintiffs failed to demonstrate how the
2    named defendants will act to enforce challenged law).
3                    ii. No Due Process Right To Consider Indigency When Renewing
4                        Vehicle Registration
5          Plaintiffs’ due process claim fails substantively as well because there is no due
6    process right requiring the DMV to consider indigency when issuing vehicle
7    registration. As an initial matter, Plaintiffs do not even allege they are “indigent”; in
8    fact, Ms. Fitzpatrick has conceded she is not “indigent” by noting she did not qualify
9    for the City’s programs for indigent persons. Dkt. 15-2, pp. 2-3, ¶ 9. Regardless, as
10   one court has commented, “cases that have addressed substantive due process claims
11   based on the issuance of parking tickets have generally rejected such claims, finding
12   the allegations were not sufficient to state a claim under the high standard governing
13   claims for substantive due process.” Lee v. Sec’y of Cal., No. 20-cv-01507, 2020 U.S.
14   Dist. LEXIS 127484, at *8-9 (N.D. Cal. July 19, 2020) (citing other decisions for the
15   same). Further, there is no fundamental “right to drive” and “vehicle registration
16   requirements are not unconstitutional.” Laine v. City of Livermore, 695 Fed.Appx.
17   260, 261 (9th Cir. 2017); Miller v. Reed, 176 F.3d 1202, 1206 (9th Cir. 1999); see also
18   Reitz, 314 U.S. at 86 (“Any appropriate means by the states to insure competence and
19   care on the part of its licensees and to protect others using the highway is consonant
20   with due process.”). As such, enforcement of the California Vehicle Code’s
21   registration requirements does not give rise to a claim for violation of constitutional
22   rights. Darkins v. Snowden, No. CV 13-3831, 2013 U.S. Dist. LEXIS 145021, at *19-
23   24 (C.D. Cal. Aug. 15, 2013).
24         Plaintiffs base their theory on a California Court of Appeal decision, People v.
25   Dueñas, 30 Cal. App. 5th 1157 (2019). Dkt. 70, p. 16. That decision is inapposite for
26   the simple reason that its holding, that courts must consider a criminal defendant’s
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1    ability to pay before imposing fines assessed to find court operations, is founded on
2    due process guaranties in criminal proceedings: “[A] state may not inflict punishment
3    on indigent convicted criminal defendants solely on the basis of their poverty.” Id. at
4    1166. Notwithstanding its irrelevance to this litigation, a number of other California
5    Courts of Appeal have found Dueñas to be wrongly decided. See, e.g., People v.
6    Greeley, 70 Cal. App. 5th 609, 625 (Cal. Ct. App. 2021); People v. Adams, 44 Cal.
7    App. 5th 828, 831-32 (Cal. Ct. App. 2020) (“Dueñas’s conclusion is not supported by
8    the authorities it cited and is inconsistent with due process jurisprudence. We likewise
9    conclude that Dueñas was wrongly decided.”).
10         While no published case from the Ninth Circuit has rejected this claim, other
11   courts have: “Moreover, if it is plaintiff’s contention that California Vehicle Code §
12   4760, which provides for enforcement of parking fines through registration suspension,
13   is unconstitutional, this claim also fails. Just as Scofield held that an unregistered
14   vehicle may be towed to further the government’s interest in enforcement of the
15   registration laws, Scofield, 862 F.2d at 764-65, so too may the government suspend a
16   registration to further the ‘valid purpose [of] implementing parking regulations [and]
17   deterring future transgressions.’ Id. at 763 (citation omitted).” Le v. Dep’t of Parking
18   & Traffic of San Francisco, Case No. C 04-03432 CRB, 2005 U.S. Dist. LEXIS 1224,
19   at *6 (N.D. Cal. Jan. 21, 2005), available at RJN, Exh. E; see also Hallal v. Seroka,
20   Case No. 1:18-cv-0388-DAD-BAM, 2018 U.S. Dist. LEXIS 121871, at *8-9 (E.D.
21   Cal. July 19, 2018) (summarizing process for challenging parking citations); Damiano
22   v. City & Cnty. of San Francisco, 2014 U.S. Dist. LEXIS 161038, at *8-9 (N.D. Cal.
23   Nov. 14, 2014) (summarizing authority holding that the process for contesting parking
24   tickets comports with due process); Tounget v. City of Hemet, No. EDCV 08-464-
25   GW(AGRx), 2011 U.S. Dist. LEXIS 175508, at *19 (C.D. Cal. Feb. 14, 2011)
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1    (California’s post-towing hearing procedures comport with procedural due process
2    rights).
3                   iii. The State Considers Indigency When Refusing Vehicle
4                        Registration Due To Unpaid Parking Citations
5           While there is no constitutional requirement that the State consider a vehicle
6    owner’s indigency when refusing vehicle registration due to unpaid parking citations,
7    that State does make such a consideration. As provided in Cal. Veh. Code § 4760, the
8    DMV will refuse renewal of a vehicle’s registration if a processing agency has
9    transmitted to the DMV an itemization of unpaid parking penalties. The processing
10   agency may not do so, however, unless that agency provides a payment plan option for
11   indigent persons that meets various requirements. Cal. Veh. Code § 40220. The City
12   does provide such programs for indigent persons, including (1) the Community
13   Assistance Parking Program, which was created to assist homeless individuals with
14   open or unpaid parking citations, by allowing the person to pay in the form of
15   community service and (2) three different installment payment plans for persons whose
16   monthly income is 150% or less of the current poverty guidelines and/or who receive
17   public assistance benefits. RJN, Exhs. F-H. Notably, as he alleges, Mr. McCarty
18   enrolled in the Community Assistance Parking Program. 2 Dkt. 70, pp. 7-8.
19              D. The Individual Defendants Should Be Dismissed
20          As demonstrated above, Plaintiffs fail to allege a constitutional violation. But
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       This allegation illustrates the necessity of Plaintiffs alleging whether they attempted
22   to renew their registration and were denied. If Mr. McCarty was enrolled in the
23   Community Assistance Parking Program, the DMV would not have issued a
     registration hold, see Cal. Veh. Code §§ 4760, 40220, assuming that he could pay the
24   requisite renewal fees to the DMV, see Cal. Veh. Code § 4601(a), and his vehicle
25   would not have been impounded. If any Plaintiff was unable to renew their
     registration due to an inability to pay the renewal fee, then that Plaintiff would have no
26   due process claim. Such circumstances are why the Supreme Court has explained that
27   claims must be pleaded plausibly, and not merely consistent with liability.
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1    even if they could, individuals Seleta Reynolds and Brian Hale should be dismissed as
2    they are immune. The sole allegation of conduct by Ms. Reynolds and Chief Hale are
3    that they, along with the City, LADOT, and LAPD, “have promulgated, promoted
4    and/or sanctioned, a policy, practice or custom,” that “directs or causes a vehicle to be
5    seized without a warrant in order to coerce the vehicle’s registered owner to pay all
6    amounts allegedly due the City for unpaid parking tickets.” Dkt. 70, p. 4, ¶ 13.
7    Qualified immunity bars the claims against Ms. Reynolds and Chief Hale because it is
8    not clearly established that impounding a vehicle solely due to the vehicle owner’s
9    accumulation of five or more unpaid parking citations is unconstitutional.
10         The doctrine of qualified immunity provides “government officials breathing
11   room to make reasonable but mistaken judgments;” it “protects ‘all but the plainly
12   incompetent or those who knowingly violate the law.’” Ashcroft v. al-Kidd, 563 U.S.
13   731,743 (2011) (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)). Qualified
14   immunity is immunity from suit, not just a defense to liability; therefore, the immunity
15   is effectively lost if a case is erroneously permitted to proceed. Isayeva v. Sacramento
16   Sheriff’s Dep’t, 872 F.3d 938, 945 (9th Cir. 2017).
17         Qualified immunity applies “insofar as their conduct does not violate clearly
18   established statutory or constitutional rights of which a reasonable person would have
19   known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). A clearly established right is
20   one that is sufficiently clear that every reasonable official would have understood that
21   what he is doing violates that right. Hyde v. City of Willcox, 23 F.4th 863, 869 (9th
22   Cir. 2022). In order to overcome a finding of qualified immunity, “Plaintiffs must
23   point to prior case law that articulates a constitutional rule specific enough” to alert the
24   individual defendants “in this case that their particular conduct was unlawful.” Id.;
25   see also Isayeva, 872 F.3d at 946 (burden on plaintiff to prove that the right was
26   clearly established at the time of the alleged misconduct).
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1          In determining whether qualified immunity applies, courts are “not to define
2    clearly established law at a high level of generality,” rather, the dispositive question is
3    “whether the violative nature of particular conduct is clearly established.” Mullenix v.
4    Luna, 577 U.S. 7, 12 (2015). For example, in one case challenging a vehicle’s
5    impound, the Ninth Circuit defined the right at issue as, “that pre-towing notice be
6    given before a car with a valid PNO certificate may be removed from a parking lot
7    matching the owner's address.” Clement v. City of Glendale, 518 F.3d 1090, 1096 (9th
8    Cir. 2008).
9          Here, there is no case law holding that a vehicle impounded solely due to the
10   vehicle owner’s accumulation of five or more unpaid parking citations does not
11   comport with the community caretaking doctrine. The closest to governing law on the
12   applicability of the community caretaking doctrine are the Ninth Circuit’s decisions in
13   Miranda, Sandoval v. Cnty. of Sonoma, 912 F.3d 509 (9th Cir. 2018), and Ramirez v.
14   City of Buena Park, 560 F.3d 1012 (9th Cir. 2009). Those decisions involved
15   impounds under very different circumstances than the ones alleged here: impounding a
16   vehicle when the driver was unlicensed but another licensed driver was available to
17   operate the vehicle was unconstitutional (Miranda and Sandoval), but impounding a
18   vehicle where the driver was arrested and nothing in the record showed how the
19   vehicle could be retrieved was constitutional (Ramirez). At best, an individual could
20   be expected to know that whether a vehicle can be impounded without a warrant turns
21   on the application of community caretaking. But there is no reason for either Ms.
22   Reynolds or Chief Hale to know how to apply community caretaking to the impound
23   of a vehicle due to the accumulation of five or more unpaid parking citations. See
24   Clement, 518 F.3d at 1096 (“It would not have been unreasonable for Officer Young to
25   have interpreted this caselaw as not requiring that notice be given before towing an
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1    unregistered vehicle with a valid PNO certificate.”). The answer to this question is of
2    course still unresolved by the Ninth Circuit.
3           Additionally, Mr. McCarty alleges no basis for liability against Ms. Reynolds
4    and Chief Hale. As noted, above, the only allegation of conduct by them is the
5    promulgation of a policy to impound vehicles due to unpaid parking tickets. Dkt. 70 p.
6    4, ¶ 13. Mr. McCarty alleges that his vehicle was impounded due to expired
7    registration, however, and not due to unpaid parking tickets. Therefore, based on Mr.
8    McCarty’s allegations, Ms. Reynolds and Chief Hale had no involvement with the
9    impound of his vehicle.
10          Finally, the requests for punitive damages against Ms. Reynolds and Chief Hale
11   should be dismissed because Plaintiffs allege no conduct by them that can give rise to a
12   punitive damages award. Punitive damages are recoverable against individuals only
13   where the “conduct is shown to be motivated by evil motive or intent, or when it
14   involves reckless or callous indifference to the federally protected rights of others.”
15   Dubner v. City & Cnty. of S.F., 266 F.3d 959, 969 (9th Cir. 2001); see Terry v. City of
16   Pasadena, No. CV 18-07730, 2019 U.S. Dist. LEXIS 132630, at *23-24 (C.D. Cal.
17   Apr. 22, 2019) (request for punitive damages properly dismissed via Rule 12(b)(6)
18   motion). At worst, based on Plaintiffs’ allegations, Ms. Reynolds and Chief Hale
19   mistakenly applied the community caretaking doctrine.
20          For all these reasons, Ms. Reynolds and Chief Hale should be dismissed from
21   this action.
22             E. Plaintiffs Fail To Allege Liability Against The Entities
23          Plaintiffs fail to allege liability against the entity Defendants. First, LAPD and
24   LADOT are improperly named as defendants because they are not independent of the
25   City. See RJN, Exhs. I-J [L.A. City Charter, § 500 (creation of police department);
26   L.A. Admin Code, § 22.480 (creation of Department of Transportation)]. “[C]ourts
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1    routinely dismiss police departments as duplicative defendants where the claims
2    against a city and its police department arise from the same facts.” Mann v. City of
3    Chula Vista, No. 18-cv-2525, 2020 U.S. Dist. LEXIS 178185, at *8-9 (S.D. Cal. Sept.
4    28, 2020) (listing cases); see also Mullins v. Cnty. of Fresno, No. 1:21-cv-00405, 2021
5    U.S. Dist. LEXIS 220432, at *6-7 (E.D. Cal. Nov. 15, 2021) (“[A]s a subdivision of
6    Fresno County, the Fresno County Sheriff’s Department is not a proper defendant on
7    Plaintiffs’ Section 1983 claims.”); Daniel v. City of Glendale, No. CV14-3864, 2015
8    U.S. Dist. LEXIS 186128, at *8-9 (C.D. Cal. Mar. 19, 2015) (“Although the GPD is a
9    separately suable entity, [citation omitted], plaintiff’s claims against both Glendale and
10   the GPD arising from the same facts are duplicative. Therefore, dismissal of plaintiff’s
11   claims against the GPD is warranted.”).
12         Second, Plaintiffs fail to allege Monell liability against the entity Defendants. In
13   order to establish liability against any entity, Plaintiffs must allege that they were
14   injured “by a municipality’s unconstitutional actions [and] must show that those
15   actions constituted government policy.” Sandoval, 912 F.3d at 517. Here, Plaintiffs
16   fail to allege any government policy causing the alleged unconstitutional actions
17   because the alleged misconduct was fully aligned with the express language of state
18   law: Cal. Veh. Code §§ 22651(i) and 22651(o). That distinguishes this situation from
19   Sandoval, where the Court noted that impounds at issue were contrary to the applicable
20   state law. See Sandoval, 912 F.3d at 517. The circumstances alleged here are also
21   different from those in Evers v. County of Custer, 745 F.2d 1196, 1203 (9th Cir. 1984)
22   as there is nothing alleged here akin to the “the Declaration of Public Road” that “was
23   an official decision of the Commissioners, the County’s governing body” in Evers.
24   Notably, without the prior allegations that Plaintiffs’ vehicles were legally parked at
25   the time of impound, a basis for this Court’s prior denial of Defendants’ request for
26   dismissal of a Monell claim is absent. See Dkt. 48, p. 9.
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1          Therefore, because state law, and no official decision of any entity Defendant,
2    authorized Plaintiff’s impound, no entity Defendant can be liable under section 1983
3    and Monell.
4              F. Plaintiffs Fail To Allege A Violation Of The California Constitution
5          Plaintiffs have no claim under Cal. Const., Art. I § 13. The “touchstone for all
6    issues under both the Fourth Amendment and article I, section 13 of the California
7    Constitution is reasonableness.” People v. Roberts, 68 Cal. App. 5th 64, 81 (Cal. Ct.
8    App. 2021)(citations omitted). Because the impounds under sections 22651(i) and
9    22651(o) are permitted and reasonable under the Fourth Amendment, they are likewise
10   reasonable under the California Constitution for the same reasons.
11             G. Plaintiffs Fail To Allege A Bane Act Violation
12         Plaintiffs fail to allege a Bane Act violation because Plaintiffs fail to allege any
13   conduct of the type that gives rise to a Bane Act claim and, even if Plaintiffs could
14   state a claim, Defendants are immune.
15         “The essence of a Bane Act claim is that the defendant, by the specified
16   improper means (i.e., ‘threats, intimidation or coercion’), tried to or did prevent the
17   plaintiff from doing something he or she had the right to do under the law or to force
18   the plaintiff to do something that he or she was not required to do under the
19   law.” Simmons v. Sup. Ct., 7 Cal. App. 5th 1113, 1125 (Cal. Ct. App. 2016). Further,
20   to sufficiently allege a claim, a plaintiff must allege that state actors exhibited specific
21   intent to violate an individual’s rights. Reese v. Cty. of Sacramento, 888 F.3d 1030,
22   1043–44 (9th Cir. 2018). “[A] reckless disregard for a person’s constitutional rights is
23   evidence of a specific intent to deprive that person of those rights.” Id. at 1045.
24         Plaintiffs Bane Act claim fails because (1) Plaintiffs fail to allege any underlying
25   constitutional violation and (2) Plaintiffs fail to allege that the impounds of their
26   vehicle were accomplished via threats, intimidation, or coercion. In fact, the only
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1    Plaintiff who was present for the impound of their vehicle was Mr. McCarty, so it is
2    impossible for Ms. Fitzpatrick or Mr. Officer to have been subjected to threats,
3    intimidation, or coercion at the time of the impound of their vehicles. But even Mr.
4    McCarty alleges no facts demonstrating that he was subjected to threats, intimidation,
5    or coercion. In essence, Plaintiffs are alleging a Bane Act came based on identical
6    facts as their section 1983 claims; but alleging a Bane Act claim requires more. Reese,
7    888 F.3d at 1043 (“[T]he Bane Act imposes an additional requirement beyond a
8    finding of a constitutional violation.”). Additionally, Plaintiffs fail to allege that their
9    vehicles were impounded due to a reckless disregard for their rights.
10         Specifically as to the individual defendants, Plaintiffs do not allege that Ms.
11   Reynolds or Chief Hale ever came into contact or communication with them.
12   Therefore, it is impossible for Plaintiffs to recover against Ms. Reynolds or Chief Hale
13   under the Bane Act.
14         Even if Plaintiffs had a valid state claim, California Government Code section
15   820.6 provides that public employees 3 are immune from liability for acting in good
16   faith pursuant to a state statute which has not been held invalid. As made clear, the
17   City was following a state law that has not been held invalid. The City is therefore
18   immune from damages for any state claims under California law. See O’Toole v.
19   Superior Court, 140 Cal.App. 4th 488, 503 (2006) (actions based on a permit policy
20   which had not been declared invalid were covered by the immunity).
21         The Court previously rejected this argument, reasoning that the alleged “Vehicle
22   Seizure Policy” is not an “enactment,” so following that cannot provide immunity.
23   Dkt. 48, pp. 9-10. The relevant enactments here are Cal. Veh. Code §§ 22651(i) and
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       California Government Code section 815.2(b) provides that a public entity is immune
27   if its employee is immune.
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1    22651(o), however; as Plaintiffs’ allege, their vehicles were impounded pursuant to
2    these authorities and no other laws. See Dkt. 70, pp. 5-7.
3            H.    Leave To Amend Should Be Denied
4            Plaintiffs should be denied leave to amend because they allege novel theories
5    that fail as a matter of law and cannot be cured by the allegation of additional facts.
6    Further, this is the third complaint. Dismissal without leave to amend is proper if the
7    complaint could not be saved by amend, and a district court’s discretion to deny leave
8    to amend is “particularly broad” when the complaint has previously been amended.
9    Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013).
10      V.        CONCLUSION
11           Plaintiffs’ Second Amended Complaint should be dismissed without leave to
12   amend.
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14   Dated: June 29, 2022          Respectfully submitted,

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                                   SCOTT MARCUS, Chief Assistant City Attorney
16                                 GABRIEL S. DERMER, Assistant City Attorney
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